Case 2:18-cv-00221-1\/|LC Document 1-1 Filed 12/21/18 Page 1 of
CIVIL COVER sHEET l ? ' 11\1

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I. (a) PLAINTIFFS DEFENDANTS
SOClETE GENERALE ESCALERA RESOURCES CO., et al.

(b) County of Residence of First Lisled Plaintii`f
(EXCEPTIN U.S. PIAIW]FF ('ASES`)

County of` Residencc 01 First Listed Defendant

NOTE:
THE TRAC'I` 01~` LAND lNVOLVED.

(C) AltDmEyS (Fr`rm Name, An'dress, mid Te!eplmne Nlrmbe:) A“C|m€y$ (U'K!lvwlr)

RANDALL B. REED (WY #5- -1858), LONG RE|N|ER W|NEGAR
BEPPLER LLP, 2120 CAREY AVENUE, SU|TE 300. CHEYENNE, WY
8200‘1 (307) 635-0710

 

(IN U.S. PLAINTIFF CASE.S ONLY)
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II. BASIS OF JURISDICTION (P.':merm "X" r'u One Bu.r 011[19 III. CITIZENSHIP OF PRINCIPAL PARTIES (.Pi'ace an "X" fn One Ba.r_)‘br Pi'm`nn]
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